          Case 2:19-cv-03266-JS-GRB Document 6 Filed 06/07/19 Page 1 of 2 PageID #: 34

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                    FENGYU XU,                                       )
  on her own behalf and on behalf of others similarly                )
                      situated                                       )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 19-cv-03266(JS)(GRB)
                                                                     )
          KINGSTECH TECHNOLOGIES, LLC.                               )
              d/b/a MS-Compu Tech and                                )
                     d/b/a EZ Mart                                   )
                                   et al.                            )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See Rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: TROY LAW, PLLC
                                           John Troy
                                           41-25 Kissena Blvd, Suite 119
                                           Flushing, NY 11355

                                           Tel: (718) 762-1324

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               DOUGLAS C. PALMER
                                                                               CLERK OF COURT


Date:             06/07/2019
                                                                                          Signature of Clerk or Deputy Clerk
Case 2:19-cv-03266-JS-GRB Document 6 Filed 06/07/19 Page 2 of 2 PageID #: 35



                                               Full Caption

                                                             
81,7('67$7(6',675,&7&2857
($67(51',675,&72)1(:<25.                                 &DVH1RFY
;
)(1*<8;8                                                   
on her own behalf and on behalf of others similarly
situated
                                    3ODLQWLII
                                    Y
.,1*67(&+7(&+12/2*,(6//&
   GED06&RPSX7HFKDQG
   GED(=0DUW
'21*4,DND-DVRQ4L
                                    'HIHQGDQWV
;

                                   Defendants’ Name with Address

.,1*67(&+7(&+12/2*,(6//&GED06&RPSX7HFKDQGGED(=0DUW
$UOLQJWRQ6W:HVWEXU\1<


'21*4,DND-DVRQ4L
6FKHUHU6W%HWKSDJH1<





                                            6XPPRQV5LGHU
